                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


MICHAEL LEE HALL and                                   )
MARJORIE CAROL HALL,                                   )
                                                       )
                       Plaintiffs,                     )       Civil Action No. 3:18-cv-108
                                                       )
v.                                                     )
                                                       )
BANK OF AMERICA CORPORATION and                        )
BANK OF AMERICA, N.A.,                                 )
                                                       )
                       Defendants.                     )
                                                       )

                            DEFENDANTS’ MOTION TO DISMISS

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”),

Defendants Bank of America Corporation and Bank of America, N.A. (“Bank of America” or

“Defendants”), by counsel, hereby move this Court to enter an Order dismissing Plaintiffs’

Complaint in its entirety, with prejudice, for failure to state a claim upon which relief can be

granted. As demonstrated in the Memorandum in Support of Defendants’ Motion to Dismiss,

which Defendants are filing contemporaneously with this Motion and incorporate herein by

reference pursuant to Fed. R. Civ. P. 10(c), nine of the sixteen claims in Plaintiffs’ Complaint are

either identical to or arise out of the very same factual circumstances as this Court previously

addressed and dismissed in Michael Lee Hall v. Bank of America Corporation, C.A. 3:16-cv-715

(“Hall I”), and, therefore, are barred by the doctrine of res judicata, and otherwise fail for a variety

of additional reasons. The remaining seven claims not barred by res judicata are likewise subject

to dismissal because Plaintiffs have failed to state viable claims for relief. Therefore, the Court

should dismiss Plaintiffs’ Complaint with prejudice pursuant to Fed. R. Civ. P. 12(b)(6).

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       Based on the foregoing, Defendants Bank of America Corporation and Bank of America,

N.A., by counsel, request the Court to enter an Order dismissing, with prejudice, Plaintiffs’

Complaint in its entirety for failure to state a claim upon which relief can be granted; awarding

them their reasonable attorneys’ fees and costs; and awarding such other relief as this Court

deems just and proper.

       This the 16th day of March 2018.

                                              Respectfully submitted,

                                              /s/ Meredith A. Pinson
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                                              Counsel for Defendant Bank of America
                                              Corporation & Bank of America, N.A.




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MICHAEL LEE HALL and                                   )
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                       Plaintiffs,                     )       Civil Action No. 3:18-cv-108
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v.                                                     )
                                                       )
BANK OF AMERICA CORPORATION and                        )
BANK OF AMERICA, N.A.,                                 )
                                                       )
                       Defendants.                     )
                                                       )

                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of Court using the

CM/ECF system and that a copy has been served this day by first-class mail, postage prepaid,

upon Plaintiffs at the address listed below:

                               Michael Lee Hall
                               Marjorie Carol Hall
                               7033 Sedgebrook Drive West
                               Stanley, North Carolina 28154

       This the 16th day of March 2018.



                                                       /s/ Meredith A. Pinson
                                                       Attorney




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